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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF MISSOURI


 STEPHEN PENROSE, JAMES THOMAS,
 JOSEPH GUARDINO, and DANIEL POPE on
 behalf of themselves and all others similarly
 situated,

                             Plaintiffs,                CASE NO. 4:17-cv-00294-HEA
        v.

 BUFFALO TRACE DISTILLERY, INC., OLD
 CHARTER DISTILLERY CO., and SAZERAC
 COMPANY, INC.

                             Defendants.


                         JOINT PROPOSED SCHEDULING PLAN

       Pursuant to Federal Rule of Civil Procedure 26(f) and the Court’s February 7, 2018 Order

Setting Rule 16 Conference (ECF No. 35), an initial conference of the parties was held between

counsel for Plaintiffs Stephen Penrose, James Thomas, Joseph Guardino, and Daniel Pope

(collectively, “Plaintiffs”) and counsel for Defendants Buffalo Trace Distillery, Inc., Old Charter

Distillery Co., and Sazerac Company, Inc. (collectively, “Defendants”). The parties met by and

through counsel to discuss the claims, defenses, discovery, potential for settlement of this suit

prior to jointly executing this proposed scheduling plan, and all other matters set forth in the

Court’s February 7, 2018 Order. Plaintiffs and Defendants submit the following Joint Proposed

Scheduling Plan.

         A.    Nature and Basis of the Parties’ Claims and Defenses.

      Plaintiffs brought this putative nationwide class action based on allegations that Defendants

misrepresented that Old Charter bourbon has been “aged 8 years.” Plaintiffs’ Complaint asserts

claims for violation of the Missouri Merchandising Practices Act (Count I), Deceptive Acts or

Practices, New York Gen. Bus. Law § 349 (Count II), False Advertising, New York Gen. Bus.


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Law § 350 (Count III), Unjust Enrichment (Count IV), Breach of Express Warranty (Count V),

Magnuson-Moss Warranty Act, 15 U.S.C. §§ 2301, et seq. (Count VI), Breach of Implied

Warranty of Merchantability (Count VII), Fraud (Count VIII), Negligent Misrepresentation

(Count IX), Violation of Florida Deceptive and Unfair Trade Practices Act, Fla. Stat. §§ 501.201,

et seq. (Count X), and Violation of the South Carolina Unfair Trade Practices Act, S.C. Code.

Ann. § 39-5-10 (Count XI).           Plaintiffs’ Complaint seeks compensatory damages, punitive

damages, injunctive relief, attorneys’ fees, and expenses and costs.

      On February 5, 2018, the Court granted in part and denied in part Defendants’ Motion to

Dismiss, dismissing Counts VI, VII, and IX and Plaintiffs’ prayer for injunctive relief.

      On February 20, 2018, Defendants filed an Answer to the Complaint, that inter alia, denied

that Plaintiffs’ allegations have any merit, denied that this action is appropriate for class

treatment, denied that Plaintiffs are entitled to any of the relief they requested, and asserted

multiple affirmative defenses.

         B.    Track Assignment.

       The parties believe that this case should be assigned to Track 3 due to the fact that it is

pled as a nationwide class action.

         C.    Scheduling and Discovery Plan.

       The Parties believe that the Court should consider Plaintiffs’ motion for class certification

before setting deadlines associated with fact discovery, expert discovery, summary judgment,

trial, etc. To address any such deadlines, the Parties propose that a further case management

conference be scheduled to occur after this Court issues an order on Plaintiffs’ forthcoming class

certification motion, at which time the Court can set deadlines taking into account the result of the

motion for class certification. In line with this proposal, the Parties propose the following:




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               1.     Amendments and Joinder of Additional Parties.

       The parties propose that joinder of additional parties or amendments to pleadings must be

made on or before June 1, 2018.

               2.     Initial Disclosures.

       The Parties will exchange initial disclosures on March 1, 2018.

               3.     Protective Order Governing Use of Confidential Information.

       The Parties shall submit a proposed Protective Order Governing Use of Confidential

Information to the Court by March 16, 2018. The Parties anticipate that the Protective Order will

address the inadvertent production of privileged or otherwise protected material under Fed. R.

Evid. 502.

               4.     Electronically Stored Information (ESI).

       The parties anticipate that they may enter into a stipulation governing ESI, including the

forms in which it should be produced. The Parties anticipate that most ESI should be produced in

text-searchable TIFF or PDF format, except when doing so is not practicable, and that large Excel

spreadsheets should be produced in native format.

               5.     Production of Documents in Response to Plaintiffs’ First Set of
                      Requests for the Production of Documents.

       Plaintiffs propose a deadline of June 22, 2018 for substantial completion of the production

of documents in response to the parties’ first set of Requests for the Production of Documents.

       Defendants object to the setting of June 22, 2018 as a deadline for the substantial

completion of their production of documents in response to the parties’ first set of Requests for

the Production of Documents. As an initial matter, given that this is a class action, the burden of

complying with such a deadline falls principally on Defendants. Moreover, Plaintiffs only served

Defendants with the first set of Requests for the Production of Documents after close of business

on February 21, 2018. As such, Defendants have not had sufficient time to analyze the requests


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and predict the volume of documents being sought, much less the amount of time it will take to

locate, review and produce such documents. Moreover, without having been served with such

requests prior to close of business on February 21, 2018, Defendants cannot yet state whether—

and if so, to what extent—any of the requests are objectionable and/or might require motion

practice. Finally, a deadline of June 22, 2018 is unnecessary and premature given that the

proposed deadline for Plaintiffs to move for class certification is seven months later.

               6.      Limits on Discovery.

       The Parties do not currently anticipate the need for changes to the limitations on discovery

imposed under the Federal Rules of Civil Procedure. However, the Parties reserve the right to

request additional discovery in the future if necessary or appropriate.

               7.      Class Certification and Class Certification Experts.

       Plaintiffs shall file their motion for class certification on or before February 28, 2019. The

Parties shall thereafter meet and confer about a schedule for depositions of any experts Plaintiffs’

used to support their motion for class certification as well as the schedule for the filing of

Defendants’ opposition brief to Plaintiffs’ motion for class certification. The Parties shall also

discuss a schedule for depositions of any experts Defendants may use to oppose Plaintiffs’ motion

for class certification as well as the schedule for the filing of Plaintiffs’ reply brief. If Plaintiffs

use an expert to support their motion for class certification, in no event shall any such schedule

require the filing of an opposition brief by Defendants in less than six (6) weeks.

         D.    Parties’ Position Regarding Alternative Dispute Resolution (ADR).

       The Parties propose that the deadline for conducting an ADR session be set at the post-

class certification case management conference. To the extent the Parties believe it could be

fruitful to conduct settlement negotiations before then, they will meet and confer about selecting a

private neutral and setting a date for such private mediation.



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          E.   Participants for Telephonic Conference on March 1, 2018, at 11:00 a.m.

    PLAINTIFFS’ COUNSEL:                             DEFENDANTS’ COUNSEL:
    Yitzchak Kopel                                   Michelle Doolin
    Bursor & Fisher, P.A.                            Darcie Tilly
    (646) 837-7150                                   Cooley LLP
                                                     (858) 550-6037

          F.   Additional Matters.

       At this time, counsel for the Parties have deemed no other matters appropriate for

inclusion in this Joint Proposed Scheduling Plan.

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       WHEREFORE, the Parties respectfully request that the Court enter the schedule and other

orders set forth herein.

 Dated: February 22, 2018                             Respectfully submitted,
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                                                      By:       /s/ Yitzchak Kopel
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 Dated: February 22, 2018                            Respectfully submitted,
                                                     By:      /s/ Michelle C. Doolin_______
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                                                5.
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                                           Attorneys for Defendants Buffalo Trace
                                           Distillery, Inc., Old Charter Distillery
                                           Co., and Sazerac Company, Inc.




                                     6.
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                                 CERTIFICATE OF SERVICE

        I hereby certify that on the 22nd day of February, 2018, a copy of the foregoing was filed
electronically with the Clerk of the Court using the CM/ECF system, which in turn forwarded
notification of same to all counsel of record in these proceedings.


                                                      /s/ Michelle C. Doolin_______




                                                 7.
